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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

Case No: 21-cr-3 (RCL)

JACOB ANTHONY CHANSLEY,

Defendant.

 

 

ORDER
For the reasons set forth in the accompanying Memorandum Opinion, the Court hereby
DENIES defendant Jacob Anthony Chansley’s motion [12] for pre-trial release. Defendant shall
remain in the custody of the U.S. Marshals as he awaits trial.

It is SO ORDERED.

Date: March _¥ , 2021 "he C. Aol

Hon. Royce C. Lamberth
United States District Judge
